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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               ANN ARBOR DIVISION

MARISOL GONZALEZ,

                    Plaintiff,

           v.                                     Case No. 5:24-cv-10002-JEL-DRG

RENTGROW, INC.,                                   Honorable Judith E. Levy
                                                  Magistrate David R. Grand
                    Defendant.


                                 NOTICE OF SETTLEMENT
           Plaintiff Marisol Gonzalez and Defendant RentGrow, Inc. (collectively the
“Parties”) advise the Court that a settlement has been reached in this case. The Parties are
in the process of finalizing a formal settlement agreement and request a stay of all
deadlines. The parties anticipate filing a stipulation for dismissal within the next 45 days.

DATED: August 5, 2024

                                                  Respectfully submitted,


                                             By: s/Erica J. Stutman
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                             CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing was served on

the following on August 5, 2024:

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